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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA

VERSUS                                                     CRIMINAL NO. 1:04cr48WJG-JMR-2
                                                            CIVIL ACTION NO. 1:06cv185WJG

RHONDA HOLMES


                                            ORDER


       THIS CAUSE comes before the Court on Defendant Rhonda Holmes’ motion to vacate

and set aside or correct her previously imposed sentence [99-1] pursuant to 28 U.S.C. § 2255.

Holmes’ petition, filed March 9, 2006, advances other assertions, her allegation that her sentence

was unconstitutionally applied because her attorney allegedly failed to disclose new case law that

was favorable to her case. (Ct. R., Doc. 99, p. 5.) She contends that her plea was based on a

base level of 6 and that she was given additional time based on judge found facts. (Id.) She

claims her attorney told her that if she went to trial she would be facing more time, which

constitutes a coerced confession. (Id.)

       Holmes was indicted in a 28-count indictment on May 4, 2004, along with four other

defendants. (Ct. R., Doc. 2.) The indictment charged the defendants with participation or

agreement to participate in a scheme to obtain payment of false claims for refunds from the

Internal Revenue Service [IRS] by filing false federal income tax returns claiming refunds to

which the taxpayers were not entitled. (Id., p. 1.) Holmes was charged with aiding the

conspiracy by using her access to identifying information of customers of her bonding company,
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Rhonda Holmes Bonding Company, to obtain Social Security numbers for use in preparing false

federal income tax returns. (Id., p. 2.) Roderick Smith used information obtained from Holmes

to prepare false federal income tax returns which Smith allegedly filed electronically with the

IRS using his AmericaOnLine, Inc. [AOL] internet access account to transmit the return

information through H & R Block, a commercial tax return preparation service authorized by the

IRS to file electronic returns. (Id.)

        It is further alleged in the indictment that Smith, Holmes, Nicolette Stubbs and Tommy

Young used credit cards to pay H & R Block’s electronic filing fees for the false federal income

tax returns as part of the scheme. (Id.) In addition, it is alleged that a further part of the

conspiracy was that defendants Holmes, Johnny Ray Holmes, Jr., Stubbs and Young used their

bank accounts to receive refunds issued for the false tax returns and to receive loan advances in

anticipation of the refunds all in violation of 18 U.S.C. § 286. (Id.) Holmes was named in

connection with four specific tax returns in Counts 12, 13, 16 and 17 of the indictment. (Id., p.

4.)

        Holmes pleaded guilty to Count 1 of the Indictment on February 7, 2005, pursuant to

Memorandum of Understanding [MOU] signed the same date. (Ct. R., Docs. 89, 90; Minute

Entries of 2/7/2005.) Her sentencing was held May 11, 2005. (Ct. R., Docs. 95, 111.) At

sentencing, Holmes was found to be an organizing leader of the conspiracy. (Ct. R., Doc. 111, p.

10.)

        Count 1 of the Indictment carried an imprisonment range of 24 months to not more than 5

years and/or a $250,000 fine; Holmes was sentenced to 24 months imprisonment. (Ct. R., Doc.

95, p. 2; Doc. 111, p. 18.) All other counts of the indictment were dismissed at sentencing. (Ct.


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R., Doc. 95, p. 1.) Holmes contends that her sentence was illegally enhanced under United States

v. Apprendi1. (Ct. R., Doc. 99, p. 4.)

I.         Voluntary Plea

           Federal courts must uphold a guilty plea challenged in a habeas petition if the plea was

knowing, voluntary and intelligent. Montoya v. Johnson, 226 F.3d 399, 405 (5th Cir. 2000), cert.

denied 532 U.S. 1067 (2001); James v. Cain, 56 F.3d 662, 666 (5th Cir. 1995). A plea of guilty

waives a number of constitutional rights. Boykin v. Alabama, 395 U.S. 238, 242-3, (1969);

Joseph v. Butler, 838 F.2d 786, 789 (5th Cir. 1988). The Fourteenth Amendment Due Process

Clause imposes certain requirements to ensure the validity of a guilty plea. Fischer v.

Wainwright, 584 F.2d 691, 692 (5th Cir. 1978) (citing Brady v. United States, 397 U.S. 742,

(1970). "Boykin requires that defendants have a hearing prior to entry of the plea, at which there

needs to be an affirmative showing that the decision to plead guilty was voluntarily and

intelligently made." Matthew v. Johnson, 201 F.3d 353, 368 n.22 (5th Cir. 2000). In addition,

"the voluntary and intelligent nature of the plea [must] be apparent on the face of the record." See

Holloway v. Lynaugh, 838 F.2d 792, 793 (5th Cir. 1988). In determining if an appeal of sentence

is barred by a waiver of appeal provision in a plea agreement, the Court must investigate whether

the waiver was knowing and voluntary and whether the waiver applies to the circumstances at

hand, based on the plain language of the agreement. United States v. Bond, 414 F.3d 542,544

(5th Cir. 2005).

           A plea qualifies as intelligent when the criminal defendant enters it after receiving "real

notice of the true nature of the charge against him, the first and most universally recognized


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      Apprendi v. New Jersey, 430 U.S. 466 (2000).

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requirement of due process." Bousley v. United States, 523 U.S. 614, 618 (1998). In

determining whether a plea is voluntary and intelligent, "the critical issue is whether the

defendant understood the nature and substance of the charges against her, and not necessarily

whether she understood their technical legal effect." Taylor v. Whitley, 933 F.2d 325, 329 (5th

Cir. 1991) (quoting Boykin, 395 U.S. at 244). The consequences of a guilty plea means only that

the defendant knows the direct consequences of her plea, which includes "the immediate and

automatic consequences of that plea such as the maximum sentence length or fine." Duke v.

Cockrell, 292 F.3d 414, 416 (5th Cir. 2002).

       In this case, Holmes stated on the record during her plea hearing that she was satisfied

with the representation of her attorney, and had no complaints regarding her attorney’s

representation of her to date, and that an adequate amount of time was spent with her prior to the

plea hearing. She also stated that she understood the charges against her and the maximum

penalty that the Court could impose. She further stated on the record that she was not threatened,

forced, or in any other way coerced to enter a plea of guilty, and that she freely and voluntarily

sought to enter the plea. The Court reviewed with her on the record the contents of the MOU

entered between Holmes and the United States which memorialized the plea agreement. Holmes

and her attorney agreed that the MOU contained the entire agreement between Holmes and the

United States, and that no one made any promises or side agreements that were not contained in

the MOU to affect her plea.

       Finally, after the charges and the factual basis for those charges were summarized,

Holmes stated she agreed with the summary and was in fact guilty of the charges. Had she

wavered or answered negatively to any of the questions of the Court, or had the Court not been


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convinced that her plea of guilty was made freely of her own will and not under duress, the Court

would not have accepted her plea of guilty.

        “[W]hen the record of the Rule 11 hearing clearly indicates that a defendant has read and

understands h[er] plea agreement, and that [s]he has raised no question regarding a waiver-of-

appeal provision, the defendant will be held to the bargain to which [s]he agreed, regardless of

whether the court specifically admonished h[er]concerning the waiver of appeal.” United States

v. McKinney, 406 F.3d 744, 746 (5th Cir. 2005.) The plea colloquy establishes to the Court that

Holmes’ plea was knowing and voluntary. United States v. Salado, 339 F.3d 285, 293 (5th Cir.

2003). The Court finds no grounds to grant habeas relief based on any claim that may arise that

Holmes’ plea was not knowingly or voluntarily entered, or that she did not fully understand the

consequences or parameters of the MOU, including the sentence. Blackledge v. Allison, 431 U.S.

63, 73 (1977).

II.     Ineffective Assistance of Counsel

        Holmes’ habeas petition is liberally construed to contend that her attorney, Felicia

Burkes, provided ineffective assistance of counsel, because Burkes allegedly did not explain a

new law that was favorable to her case. (Ct. R., Doc.99, p. 5.) Her claim of ineffective

assistance of counsel can be proven by showing: (1) that Burke’s performance was deficient, and

(2) the deficient performance prejudiced her defense. Strickland v. Washington, 466 U.S. 668,

687 (1984); United States v. Seyfert, 67 F.3d 544, 547 (5th Cir. 1995). In circumstances

involving a defendant’s guilty plea, the prejudice requirement under Strickland "focuses on

whether counsel'
               s constitutionally ineffective performance affected the outcome of the plea

process." Hill v. Lockhart, 474 U.S. 52, 59 (1985). Holmes "must show that there is a


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reasonable probability that, but for counsel'
                                            s errors, she would not have pleaded guilty and would

have insisted on going to trial." Hill, 474 U.S. at 59.

       Holmes claims that Burkes failed to explain the consequences of new law which would

have resulted in a lower sentence in this case. (Ct. R., Doc. 99, p. 4.) Holmes asserts that

because Burkes allegedly misled or misinformed her about this law she did not make an informed

decision to plea, and she was given additional time on judge found facts. (Id.)

       Holmes was specifically questioned at her February 7, 2005, plea hearing, concerning the

maximum possible sentence and penalty associated with the charges outlined in Count 1 of the

indictment. (Ct. R.) Holmes answered affirmatively that she understood the charges. (Id.) She

was also questioned about the MOU, and Holmes stated that she had read the MOU, discussed its

provisions with her attorney, signed it, and that it correctly contained the entire agreement

reached between herself and the United States in this case. (Id.) She acknowledged she

understood that the Court could impose any sentence in the case despite the United State’s

recommendations, and that she was waiving her right to appeal or contest the sentence in any

post-conviction setting. (Id.)

       The MOU provided that she could receive a maximum sentence of five years, a maximum

fine of $250,000, that her sentence would be imposed in accord with the Sentencing Guidelines,

that the Court could sentence Holmes to the statutory maximum, that Holmes was not relying on

anyone’s calculation of a particular guideline range for the relevant offense and she understood

that she may be sentenced to the maximum penalties the sentence to be imposed at the court’s

discretion. (Ct. R., Doc. 90, pp. 2- 3.)




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       In cases involving a guilty plea in which the defendant claims ineffective assistance of

counsel, the prejudice requirement "focuses on whether counsel'
                                                              s constitutionally ineffective

performance affected the outcome of the plea process." Hill, 474 U.S. at 59. In other words,

Holmes "must show that there is a reasonable probability that, but for counsel'
                                                                              s errors, she would

not have pleaded guilty and would have insisted on going to trial." United States v. Glinsey, 209

F.3d 386, 392 (5th Cir. 2000), cert. denied 531 U.S. 919. Unfortunately for Holmes, the record

establishes anything but this standard. The Court finds no merit to Holmes’ attempt to attack

Burke’s professional competence and further finds no reason to conclude that “but for” Burke’s

performance and advice Holmes was convicted of a crime for which she had no involvement.

       The Court concludes that Holmes fails to meet the first prong of Strickland in this claim,

and has not shown that Burke’s performance was deficient. In light of these findings, the Court

fails to find any evidence in the record supporting Holmes'contentions regarding Burke’s

performance. See Coleman v. Thompson, 501 U.S. 722 (1991); United States v. Harris, 408 F.3d

186, 189 (5th Cir. 2005), cert. denied ___ U.S. ___, 126 S.Ct. 297. Furthermore, Holmes failed

to make the requisite showing that her defense was prejudiced by Burke’s actions. Strickland,

466 U.S. at 694.

       In determining whether a counsel’s performance was deficient, the Court must “indulge a

strong presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance; that is, the defendant must overcome the presumption that under the circumstances,

the challenged action ‘might be considered sound trial strategy.’” Strickland, 466 U.S. at 689.

The Court has reviewed Holmes’ contentions and concludes that there was nothing deficient in

Burke’s performance regarding the sentence.


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III.       Apprendi Argument

           Holmes asserts her rights under the Fifth and Sixth Amendment were violated and argues

that she should not have been sentenced by the use of judge found facts. (Ct. R., Doc. 99, p. 4.)

Again, unfortunately for Holmes, Apprendi, Booker and Blakely2 concerns are not implicated

unless the sentence imposed on the defendant exceeds the maximum statutory penalty. See

United States v. Smith, 296 F.3d 344, 348-9 (5th Cir. 2002), cert denied, 538 U.S. 935; United

States v. Lopez-Urbina, 434 F.3d 750, 761 (5th Cir. 2005), cert. denied 126 S.Ct. 672. In this

case, the maximum statutory penalty for Count 1, conspiracy to defraud the United States in

violation of 18 U.S.C. § 286 is 10 years imprisonment, a maximum fine of $250,000, and a

maximum of 3 years supervised release. 18 U.S.C. § 286. Because the sentence actually

imposed, 24 months, with no fine, is well under the statutory maximum, Apprendi has no effect

on these facts. Lopez-Urbina, 434 F.3d at 761. Accordingly, the Court finds no grounds for

granting habeas relief on Holmes’ claims. It is therefore,

           ORDERED that Holmes'motion to vacate [99-1] the previously imposed sentence be,

and is hereby, denied. It is further,

           ORDERED that this cause be, and is hereby, dismissed with prejudice.

           SO ORDERED, this the 12th day of December, 2006.




                                                      UNITED STATES SENIOR DISTRICT JUDGE




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       Blakely v. Washington, 542 U.S. 296 (2004) and United States v. Booker, 543 U.S. 220 (2005).

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